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                  Receiver
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                  Los Angeles, California 90067-2523
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              4   E-Mail:    djp@paslaw.com

              5
              6

              7                              UNITED STATES DISTRICT COURT

              8            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

              9
             10
             1    PERFECT 10, INC., a                          Case No.    2-11-cv-07098-AB
                  California corporation,                      (JPRX)
             12
                                    Plaintiff,                 Hon. Andre Birotte,       Jr.
             13
                           vs.                                 NOTICE OF HEARING OF MOTION
             14                                                AND RECEIVER’S MOTION FOR
                  GIGANEWS, INC., a Texas                      ISSUANCE OF ORDER APPROVING
             15   Corporation, et al.,                         AND CONFIRMING SALE OF
                                                               INTELLECTUAL PROP ERfl;
             16                    Defendants.                 DECLARATION OF DAVID J.
                                                               PASTERNAK; MEMORANDUM OF
             17                                                POINTS AND AUTHORITIES
                  AND RELATED CROSS-ACTIONS
             18                                                DATE:  MARCH 1, 2019
                                                               TIME:  10:00 A.M.
             19                                                COURTROOM:  7B

             20
             21           Pursuant to Local Rule 66-6.1 and 66-7(b),                  Receiver

             22   David J.          Pasternak submits the following Motion For

             23   Issuance of Order approving and confirming the sale of

             24   the Receivership’s intellectual property for hearing in

             25 Courtroom 7B at 350 West 1” Street, Los Angeles, CA
             26 90012-4565 on Friday, March 1, 2019 at 10:00 a.m.
             27           This Motion is made on the grounds that:

             28           1.       On February 24,     2017,    David J.    Pasternak was
                  {00209592.DOCX 663900001                 1                 2-11-cv-07098-AB   (JPRX)
&PASTERNAK
                        NOTICE OF HEARING OF MOTION AND RECEIVER’ S MOTION FOR ISSUANCE OF ORDER
                              APPROVING AND CONFIRMING SALE OF INTELLECTUAL PROPERTY; ETC.
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     1   appointed as Receiver in this matter to take sole and

     2   immediate custody,              possession and control of all of the

     3   intellectual property of Perfect 10,                    Inc.     (“Perfect

     4 10”)     ,     including but not limited to its domain names,

     5   copyrights,          copyright interests,         trademarks,        trademark

     6   interests,          and associated goodwill,          and related

     7   interests         (“the Property”)

     8          2.      The Receiver was directed by this Court to sell

     9 the Property in order to satisfy this Court’s Judgment;
    10           3.     After marketing the Property,              the Receiver has

    11   negotiated a proposed contract for the sale of the

    12 Property to Defendant Giganews,                    Inc.; and

    13          4.      The proposed sale contract represents the fair

   14 market value of the Property and accomplishes the
   15 purposes for which the Receiver was appointed.
   16           This Motion is based on this Notice of Motion and

   17 Motion,          the attached Declaration of David J.                  Pasternak

   18 and all attached exhibits,                  the attached Memorandum of

   19 Points and Authorities, all pleadings and other
   20 documents in the Court’s tile for this matter,                             and all

   21 other oral and written evidence received by the Court in
   22    connection with the hearing of the Receiver’s Motion.



   j     DATED:        January 29,       2019

                                                 David J. Pasternak
   26                                            Receiver
   27
   28
         (0o209592.Docx 66390.0001   )              2                   2-11-cv-07098-AB   (JPRX)
              NOTICE OF HEARING OF MOTION AND RECEIVER’S MOTION FOR ISSUANCE OF ORDER
                      APPROVING AND CONFIRI4ING SALE OF INTELLECTUAL PROPERTY;   ETC.
                       5
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                      DECLARA TION
                            OF
                   DA VID I PASTERNAIC
        Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 4 of 28 Page ID #:41443




              I                     DECLARATION OF DAVID J.           PASTERNAK

              2           I, David J.      Pasternak, declare as follows:

              3           1.     I have personal knowledge of the facts set

              4 forth herein, and if called upon as a witness to testify
              5 thereto,          I could and would competently and truthfully do

              6   5°.


              7           2.     On February 24,      2017,    this Court issued an

              8 Order Granting Judgment Creditor Giganews,                      Inc. ‘s Motion

              9   To Levy On Judgment Debtor’s Intellectual Property And

             10 Appoint A Receiver             (the “Receivership Order”),            a true
             11   and correct copy of which is attached as Exhibit 1,

             12   appointing me as Receiver to take sole and immediate

             13   custody,       possession and control of all of the

             14   intellectual property of Perfect 10,                  Inc.   (“Perfect
             15   10”),        including but not limited to its domain names,

             16   copyrights,        copyright interests,         trademarks,      trademark
             17 interests, and associated goodwill,                   and related
             18   interests        (“the Property”)     .   The Property pertains to

             19   thousands of adult images of nude and semi-nude women.

             20          3.      I began serving as this Court’s Receiver

             21   immediately after learning about the issuance of the

             22   Receivership Order,          and shortly thereafter, pursuant to

             23 this Court’s authorization,                 I retained SoCal IP Law
             24 Group LLP          (“SoCal”)   as my intellectual property

             25 attorneys pursuant to a Legal Services Agreement
             26 previously filed with this Court.
             27          4.      With SoCal’s assistance and the cooperation of

             28 Perfect 10 and its principal, Norman zada, I believe
                {0o2o9592.Docz 66390.0001 )  3           2-11-cv-07098-AB                     (JPRX)
&PASTEFNAK
                        NOTICE OF HEARING OF MOTION AND RECEIVER’S MOTION FOR ISSUANCE OF ORDER
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              I   that I have taken custody, possession and control of all

              2   of the Property.        SoCal has coordinated the filing of

              3 all necessary notices and registrations in order to
              4 transfer the Property to me as this Court’s Receiver,
                  and the filing of all updates necessary to keep the

              6 registrations current.
              7        5.   On April 4,      2017,    I filed and served a summary

              8   Inventory identifying the property and documents in my

              9 possession.        As previously reported, my office has

             10 prepared a detailed listing of the Property which is
             11   hundreds of pages long,         and consequently has not been

             12   filed with this Court because of its volume.

             13       6.    Also as previously reported,              I have a self-
             14 storage unit for most of the Property, but also have
             is entered into an Agreement with PacificTitle Archives,                           a
             16 copy of which has previously been filed with this Court,
             17   for the storage of film stock which requires special

             18 handling and maintenance.
             19       7.    During 2017,      I attempted to find someone

             20 interested in purchasing the Property.                  There obviously

             21   is a very limited market for the Property,                    and
             22   traditional advertising and sales promotions efforts are

             23 not practical methods of selling such Property.                        Among
             24 other things,       I communicated with Norman Zada and

             25 various attorneys representing companies engaged in
             26 similar adult image businesses.                 I was unable to locate
             27 anyone who would make any purchase offer except Mr.                        Zada
             28 and Defendant Giganews,           Inc.       (“Giganews”)   .   Among other
                {00209592.Docx 66390.0001 }              4                  2-11-cv-07098-AB   (JPRX)
&PASTERNAK
                     NOTICE OF HEARING OF MOTION AND RECEIVER’S MOTION FOR ISSUANCE OF ORDER
                           APPROVING AND CONFIRMING SALE OF INTELLECTUAL PROPERTY; ETC.
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               1 problems,          I was informed that the Property does not

              2   include required signed forms from all of the
              3 photographed individuals attesting that they were in

              4 fact adults when the photographs were taken.                        In
              5 addition, Mr.                 Zada has informed me that Perfect 10

              6 allegedly had unspecified oral agreements with some of
              7 those individuals that it would not take advantage of
              s   their broad assignments of rights to harm those

              9   individuals in any way,               such as using their name or

             io   likeness to promote escort services, masturbation

             11   devices,        or adult movies with explicit sex scenes.                 I
             12 also was informed that some of the images are “dated”.
             13           8.     After communicating with potential purchasers

             14 of the Property,                I negotiated with Giganews and Mr.          Zada
             15   for the sale of all of the Property.                  After Giganews
             16 made the highest purchase offer,                 I negotiated the terms
             17 of the sale contract with Giganews’                  counsel.      Those
             18 negotiations concluded in late 2018 in a Bill of Sale
             19 And Assignment of Receivership Property (“Sale
             20 Contract”)          ,   a true and correct copy of which signed by

             21   Giganews is attached as Exhibit 2.                 The referenced
             22 Exhibits to the Sale Contract are omitted because of the
             23 volume of that material                 (they total hundreds of pages)
             24 However,          I am electronically providing a copy of those

             25 Exhibits to Mr.                Zada at the same time as the filing of

             26 this Motion,             and will similarly electronically provide

             27 copies of those materials to anyone who requests them
             28   from me.         The Sale Contract generally provides:
8PASTERNAK
                  (00209592.cccx 66390.0001                5                2-11-cv—07098-AB (JPRX)
                       NOTICE OF HEARING OF MOTION AND RECEIVER’S MOTION FOR ISSUANCE OF ORDER
                             APPROVING AND CONFIRMING SALE OF INTELLECTUAL PROPERTY; ETC.
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         1                  The purchase price is $500,000,           which includes

         2                   $25,000 cash,   $150,000 for the value of the

         3                   loans that Giganews has made to date for the
         4                  operation of this Receivership,           and a credit of

         5                  an additional $325,000 against Giganews’

         6                  judgment against Perfect 10;

         7                  The sale is without any representations or

         8                  warranties;

         9                  The sale is subject to the issuance of an Order

        10                  by this Court approving and confirming the

        11                  sale;

        12                  The sale is subject to potential overbidding,

        13                  with a minimum overbid of $550,000; and

        14                  The buyer is to take possession of all tangible

        15                  Receivership property within 14 and 30 days

        16                  after the Court approves and confirms the sale

        17                   (payment of the full purchase price is required

        18                  before possession of the Property is

        19                  transferred to the buyer)

        20          9.      Through its loans to this Receivership,

        21   Giganews has effectively made a $150,000 purchase

        22 deposit.           Giganews also has advanced the required

        23   $25,000 cash payment to me.                 Consequently,   I suggest
        24 that any over bidder be required to give me the same
        25 total $175,000 amount as a purchase deposit in the form
        26 of a cashiers or certified check before being permitted
        27 to overbid,            and that the deposit is forfeited if a

        28 successful over bidder fails to close the transaction
PASTK
             {o0209592.Docx 66390.0001   )           S                2-11-cv-07098-AB   (JPThC)
                  NOTICE OF HEARING OF MOTION AND RECEIVER’S MOTION FOR ISSUANCE OF ORDER
                        APPROVING AND CONFIRMING SALE OF INTELLECTUAL PROPERTY; ETC.
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     1   timely.         I also suggest that if there is an overbid,                 any

     2   subsequent overbids must increase the purchase price by

     3 at least another $50,000.                If there is an over bidder,             I

     4 will give any other buyers the opportunity to remain in
     5 a back up position in the event that the high bidder
     6   fails to close the transaction timely.

     7           10.    I believe that this sale represents the fair

     8 market value of the Property,                and is in the best

     9 interests of this Receivership Estate.
    10
    11           I declare under penalty of perjury under the laws of

    12   the United States of America that the foregoing is true

   13 and correct and that this Declaration was executed on
   14 January 29,             2019,   at Los Angeles,     California.



                                                 David J.     Pasternak
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                               }
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              NOTICE OF HEARING OF MOTION A1JD RECEIVER’S MOTION FOR ISSUANCE OF ORDER
                    APPROVING AND CONFIRMING SALE OF INTELLECTUAL PROPERTY; ETC.
                                                      10
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                     MEMORAND UM
                           OF
                 POINTS & A UTHORITIES
       Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 10 of 28 Page ID
                                        #:41449


         1                     MEMORANDUM OF POINTS AND AUTHORITIES

        2             “The power of a district court to impose a
        3    receivership or grant other forms of ancillary relief

        4     ...    derives from the inherent power of a court of equity
             to fashion effective relief.” SEC v.                       Wencke,      622 F.2d

        6    1363,      1369     (9th Cir.1980)          .   “[A]   primary purpose of

        7 equity receiverships is to promote orderly and efficient
        8 administration of the estate by the district court for
        9    the benefit of creditors.” SEC v. Hardy,                          803 F.2d 1034,

       10    1038      (9th Cir.1986)                 To that end,    “[a]   district court’s
             power to supervise an equity receivership and to

       12 determine the appropriate action to be taken in the
       13    administration of the receivership is extremely

       14 broad.”            SEC v.          Capital Consultants,       LEC,    397 F.3d 733,

       15    738     (9th Cir.2005)               (internal quotation marks and

       16    citation omitted)                .   “The basis for this broad deference

       17 to the district court’s supervisory role in equity
       is receiverships arises out of the fact that most
       19 receiverships involve multiple parties and complex
       20    transactions.”                  Hardy,    803 F.2d at 1037.

       21            28 U.S.C.           §2004 specifies that         “[amy personalty
       22    sold under any order or decree of any court of the

       23 United States shall be sold in accordance with section
       24    2001 of this title,                  unless the court orders otherwise.”

       25    28 U.S.C.         §2001 lays out a sale procedure that includes

       26 appraisal and advertising in a public newspaper.
       27 However, where appropriate,                        a court may waive these

       28 requirements.                  Tanzer v.      Huffines,    C.A.3     (Del.)    1969,
             {00209592.DOCX 66390.0001   }                   a                 2-11-cv-07098-AB   (JPRX)
ASAK
                    NOTICE OF HEARING OF MOTION AflD RECEIVER’S MOTION FOR ISSUANCE OF ORDER
                          APPROVING AND CONFIRMING SALE OF INTELLECTUAL PROPERTY; ETC.
           Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 11 of 28 Page ID
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             1   412 F.2d 221,                certiorari denied 90 S.Ct.    154,   396 U.s.
            2    877,      24 L.Ed.2d 135.            Here, where the Property to be

            3    sold is extremely specialized, has an extremely limited

            4 market and potential problems, and advertising is
            5 expensive in Los Angeles metropolitan newspapers,                          it is
            6 both appropriate and proper for this Court to waive
            7 those general sale requirements.
            8            Accordingly,            the Receiver respectfully requests that

            9 the Court approve and confirm the proposed sale of the
           10 Property,             subject to possible overbidding at the sale

           11 hearing.


           13 DATED:            January 29,        2019
           14
                                                          David J. Pasternak
           15                                             Receiver
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&STERNAK                               )
                 {0o209592 .D0CX 66390.0001               9                2- 11-cv-07098-AB (JPRx)
                      NOTICE OF HEARING OF MOTION ND RECEIVER’S MOTION FOR ISSUECE OF ORDER
                            APPROVING AND CONFIRMING SALE OF INTELLECTUAL PROPERTY; ETC.
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                                 #:41451




                           Exhibit 1
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                                   #:41452
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        LI yE WIRE SERVICES, INC.
                              UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   16
                                     WESTERN DIVISION
   17
        PERFECT 10, NC., a California       Case No.: 1 1-cv-07098-AB (JPRx)
   18   corporation,
                                            IPROPOSEDI ORDER GRANTING
   19                  Plaintiff,           JUDGMENT CREDITOR
                                            GIGANEWS, INC.’S MOTION TO
   20                                       LEVY ON JUDGMENT DEBTOR’S
             v.                             INTELLECTUAL PROPERTY AND
   21                                       APPOINT A RECEIVER
        GIGANEWS, INC., a Texas
   22   Corporation; et al.                               Fcbruary 27, 2017
                                                          10:00 a.m.
   23                                                     No. 1, 2nd Fl. (Spring Strcct)
                       Defendants.          Judge:        Hon. André Birotte, Yr.
   24
   25
        AND RELATED CROSS-ACTIONS
  26
  27
  28
        [PROPOSED) ORDER GRANTING                         CASE NO. II -cv-07098-AB (SHx)
        GIGANEWS S MOTION TO LEVY
        AND TO APPOINT A RECEIVER
                                                     Exhibit   L..   Page/U
 Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 14 of 28 Page ID
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       1          The Court has considered defendant and judgment creditor Giganews, Inc.’s
    2      (“Giganews”) motion to levy on the intellectual property of plaintiff and judgment
    3      debtor Perfect 10, Inc. (“Perfect 10”), and to appoint a receiver to carry out the
    4      levy. (Dkt. No. 802.) Giganews moves under Fed. R. Civ. Proc. 69(a), and Cal.
    5      Code Civ. Proc.   §   695.010, 699.710, and 708.620., which together authorize the
    6      district court to enforce a judgment through a writ of execution, and to appoint a
    7      receiver to aid in executing the judgment. The Court finds good cause both to levy
    8      on Perfect 10’s intellectual property and to appoint a receiver to carry that out, for
    9      all of the reasons Giganews stated in its motion. The Court considered all of the
   10      points Perfectl0 made in its opposition and finds that they lack merit. The Court
   11      therefore ORDERS as follows:
   12             1.     The Court GRANTS Giganews’s motion.
  13              2.     The Court APPOINTS David J. Pasternak as a receiver to carry out a
   14      levy on Perfect 10’s property in accordance with the remainder of this Order. For
  15       the remainder of this order, the term “intellectual property” specifically includes but
  16       is not limited to domain names, copyrights and copyright interests; and trademarks,
  17       trademark interests, and associated goodwill; and related interests.
  18              3.    The receiver may seize and sell any and all intellectual property of
  19       Perfect 10 in order to satis& this Court’s judgment.
  20              4.    By virtue of the appointment of the receiver, the Court divests Perfect
  21       10 of, and puts under the exclusive control of the receiver, any and all of the
  22       intangible property, including domain names; copyrights or copyright interests; and
  23       trademarks, trademark interests, and associated goodwill that Perfect 10 owns or
  24       possesses.
  25             5.     The receiver shall assume sole and immediate possession, custody and
  26       control of all of Perfect 10’s property and sell that property subject to this Court’s
  27       confirmation and approval in satisfaction of the Judgment.
  28
           [PROPOSEDJ ORDER GRANTING                  1             CASE NO. I I-cv-07098-AB (SHx)
           GIGANEWS S MOTION TO LEVY
           AND TO APPOINT A RECEIVER
                                                          Exhibit   /   Page/   /
  Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 15 of 28 Page ID
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          1          6.     The receiver shall have the authority to assign and transfer Perfect 10’s
      2       property, as further specified below.
          3          7.     The proceeds of any sales shall be used to satis& the Judgment, less
      4       the receivership’s reasonable costs and fees;
          5          8.     Any bid for, and purchase of, Perfect 10’s property by Giganews may
      6       be credited against the amounts that Perfect 10 owes Giganews pursuant to the
      7       Judgment. Giganews need not use its own money to bid for, and purchase, Perfect
      8       10’s property. Instead any successful bids and/or purchases may be credited against
      9       Perfect 10’s judgment debt to Giganews.
     10              9.    The receiver may charge as interim fees his standard hourly billing
     11       rate, which is currently $575 per hour, plus reimbursement of costs for the
     12       receiver’s services. The receiver is authorized to employ the services of Pasternak
;!   13       & Pasternak, A Law Corporation (in which the receiver and his wife are
     14       shareholders); SoCal IP Law Group, LLP; and accountants, computer consultants,
     15       and other professionals in connection with his duties administering the receivership
     16       estate and to pay for those services in the amount of the normal fees charged by
     17       those professionals.
     18             10.    The receiver shall:
     19                    a.    Take possession, custody and control of and exclusively and in
     20       his sole discretion, operate, manage, control, exploit, and operate Perfect 10’s
     21       property;
     22                    b.    Collect all royalties, rents, issues, profits, and income resulting
     23       from or generated by Perfect 10’s property;
     24                    c.    Care for, preserve, operate and maintain Perfect 10’s property;
     25                    d.    Use (at his discretion) any tax identification or Social Security
     26       numbers previously used in connection with Perfect 10’s property;
     27
     28
              [PROPOSED] ORDER GRANTING                              CASE NO. 11 -cv-07098-AB (SHx)
              GIGANEWSS MOTION TO LEVY                 -

              AND TO APPOINT A RECEIVER
                                                              Exhibit_±.Page/.
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           I                    e.   Enter into contracts as the receiver reasonably believes
        2      necessary for the preservation of Perfect 10’s property;
        3                       f.   Institute and prosecute all suits as the receiver, upon obtaining
        4      permission of the Court, he may reasonably believe to be necessary in connection
        5      with Perfect 10’s property, and may without further order of the Court defend all
        6      suits and actions as may be instituted concerning Perfect 10’s property;
        7                       g.   Negotiate and make financial arrangements for any licenses or
        8      permits that the receiver reasonably believes to be appropriate in connection with
        9      Perfect 10’s property;
       10                   h.       Issue subpoenas, conduct and participate in discovery, take
       11      depositions, pursue contempt actions, and otherwise pursue all remedies available
       12      by law to ensure compliance with the receiver’s authority under this Order;
3      13                       i.   Incur the expenses necessary for the care, preservation and
       14      maintenance of Perfect 10’s property; and
       15                   j.       To the extent that there are funds available, pay such funds to
       16      Giganews in satisfaction of this Court’s Judgment.
       17             11.   Within sixty (60) days after the issuance of this Order, the receiver
       18      shall file an inventory of all of the assets of which he has taken possession pursuant
       19      to this Order;
      20              12.   The receiver shall prepare and serve monthly statements reflecting the
      21       receiver’s fees and administrative expenses, including fees and costs of the
      22       accountants and attorneys and other professionals authorized by the Court, incurred
      23       for each monthly period in the operation and administration of the receivership
      24       estate. Upon service of each statement, the receiver may disburse from estate
      25       funds, if any, the amount of each statement. Notwithstanding periodic payment of
      26       fees and expenses, all fees and expenses shall be submitted to the Court for its
      27       approval and confirmation, in the form of either a properly noticed interim request
      28
               FPROPOSEDJ ORDER GRANTING                  2             CASE NO. II -cv-07098-AB (SI-tx)
               GIGANEWSS MOTION TO LEVY                   -‘


               AND TO APPOINT A RECEIVER
                                                                  Exhibit__f Pagef
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           1   for fees, a stipulation of all parties, or in the receiver’s interim or final account and
        2      report;
        3                13.   The receiver may employ agents, employees, clerks, accountants, and
        4      property managers to administer the receivership estate, purchase materials,
        5      supplies and services, and pay for them at the ordinary and usual rates out of the
        6      funds which shall come into the receiver’s possession and shall do all things and
        7      incur the risks and obligations ordinarily incurred by owners, managers, and
        8      operators of similar property. No such risk or obligation so incurred shall be the
        9      personal risk or obligation of the receiver, but shall be the risk and obligation of the
       10      receivership estate;
       11             14.      The receiver is empowered to establish bank accounts for the deposit
       12      of monies and funds collected and received in connection with the receivership
!      13      estate, at federally insured banking institutions or savings associations which are
       14      not parties to this case. Monies coming into the possession of the receiver and not
       15      expended for any purposes authorized by this Order shall be held by the receiver in
       16      interest-bearing accounts;
      17              15.      The receiver may issue Receivership Certificates in increments of at
      18       least $10,000 bearing interest at eight percent (8%) per annum for up to $250,000 to
      19       any person or parties, in order to fund and carry out the receivership. All funds
      20       loaned to the receiver pursuant to such Receivership Certificate shall be deemed to
      21       be a lien of first priority which shall be repaid prior to all other encumbrances and
      22       claims, other than costs of administration.
      23             16.       The receiver and the parties to this case may at any time apply to this
      24       Court for further or other instructions or orders and for further powers necessary to
      25       enable the receiver to perform the receiver’s duties properly;
      26             17.       All monies coming into the receiver’s possession shall be expended
      27       only for the purposes herein authorized, unless otherwise ordered by Court;
      28
               [PROPOSEDJ ORDER GRANTING                   A              CASE NO. I 1-cv-07098-AB (SHx)
               GIGANEWS S MOTION TO LEVY
               AND TO APPOINT A RECEIVER
                                                                Exhibit     /   Page   / /‘
 Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 18 of 28 Page ID
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       1          18.    The receiver shall determine upon taking possession of the property
    2      whether in the receiver’s judgment there is sufficient insurance coverage. With
    3      respect to any insurance coverage, the receiver shall be named as the insured on the
    4      policies for the period that the receiver shall be in possession of the property. If
    5      sufficient insurance coverage does not exist, the Receiver shall immediately notii5i
    6      the parties to this lawsuit and shall have thirty (30) calendar days to procure
    7      sufficient insurance for the property; provided, however, that if the receiver does
    8      not have sufficient funds to do so, the receiver shall seek instructions from the
    9      Court with regard to whether insurance shall be obtained and how it is to be paid
   10      for. If consistent with existing law, the receiver shall not be responsible for claims
  11       arising from the lack of procurement or inability to obtain insurance;
  12              19.   Discharge of the receiver shall require a court order after a properly
  13       noticed motion approving the receiver’s final report and account and exoneration of
  14       the receiver’s bond;
  15             20.    The parties, and each of them, on receipt of this Order shall provide
  16       the receiver with all tax identification numbers utilized in connection with Perfect
  17       10’s property. The receiver shall also be entitled to utilize the tax identification
  18       numbers during his possession of Perfect 10’s property. The Receiver shall not be
  19       responsible for filing any federal or state tax returns on behalf of Perfect 10.
  20             21.    The receiver is authorized to have all mail, other deliveries, and
  21       notices concerning Perfect 10’s property forwarded to an address to be designated
  22       by him;
  23             22.    IT IS FURTHER ORDERED that Perfect 10 and its respective owners,
  24       officers, directors, agents, partners, property managers, employees, assignees,
  25       successors, attorneys, representatives, and all persons acting under, in concert with,
  26       or for them (specifically including Norman Zada. Melanie Poblete. Bruce Hersh,
  27       Gwendalyn Augustine, Jennifer Snow McCall, and Sean Chumura):
  28
           [PROPOSEDJ ORDER GRANTING                               CASE NO. I 1-cv-07098-AB (SHx)
           GIGANEWS S MOTION TO LEVY                 -‘

           AND TO APPOINT A RECEIVER

                                                            Exhibit   j..   Page____
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         1                 a.     Shall immediately relinquish and turn over possession of Perfect
         2    10’s intellectual property, including but not limited to all or their profits and
         3    proceeds (including any cash) to the receiver forthwith upon his appointment
         4    becoming effective;
         5                 b.     Shall immediately turn over to the receiver and direct all other
         6   third parties in possession thereof to turn over to the receiver all registrations,
         7   books, records, books of account, ledgers, operating statements, budgets, bills,
         8   contracts, choses in action, and all other business records relating to Perfect 10’s
      9      intellectual property, wherever located, and in whatever mode maintained,
     10      including information contained on computers, and any and all software or
    11       databases relating thereto as well as all banking records, statements and cancelled
    12       checks;
    13                     c.     Shall immediately turn over to the receiver all documents that
g   14       pertain to all registrations, licenses, permits, or government actions or approvals
    15       relating to Perfect 10’s intellectual property’ and shall immediately advise the
    16       receiver of any social security or taxpayer identification numbers used in
    17       connection with Perfect 10’s intellectual property;
    18                     d.    Shall immediately advise the receiver as to the nature and extent
    19       of insurance coverage for Perfect 10’s intellectual property. Perfect 10 shall
    20       immediately name the receiver as an insured on the insurance policy(ies) for the
    21       period that the receiver shall be in possession of Perfect 10’s intellectual property.
    22       Perfect 10 and its agents and representatives are prohibited from canceling,
    23       reducing or modifying any and all insurance coverage currently in existence with
    24       respect to Perfect 10’s domain names, copyrights and/or trademarks and
    25       accompanying goodwill and shall fully assist receiver in transferring said insurance
    26       for the benefit of the receiver; and
    27
    28
             [PROPOSEDJ ORDER GRANTING                               CASE NO. II -cv-07098-AB (SHx)
             GIGANEWS S MOTION TO LEVY                  U

             AND TO APPOINT A RECEIVER

                                                              Exhibit ‘Page       1 (P
 Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 20 of 28 Page ID
                                  #:41459
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       I                  e.    Shall cooperate with and fully assist the receiver with respect to
    2      his possession and attempts to sell Perfect 10’s property or interests therein,
    3      including but not limited to promptly responding to any inquiry by the Receiver for
    4      information;
    5             23.     IT IS FURTHER ORDERED that, immediately and until such further
    6      Order of this Court, Perfect 10 and its agents, partners, property managers,
    7      employees, assignees, successors, attorneys, representatives, and all other persons
    8      acting in concert with them who have actual or constructive knowledge of this
    9      Order, and their agents and employees shall not:
   10                     a.   Commit or permit any waste on any of Perfect 10’s property or
   11      any part thereof, of suffer or commit or permit any act on Perfect 10’s property or
   12      any part thereof, or suffer or commit or permit any act on Perfect 10’s property’ or
   13      any part thereof in violation of any law, or alienate, remove, transfer, encumber or
   14      otherwise dispose of any of Perfect 10’s property’ or any part thereof;
   15                     b.   Directly or indirectly interfere in any manner with the discharge
   16      of the receiver’s duties under this Order or the receiver’s possession of and
   17      operation and attempts to sell Perfect 10’s property;
  18                      c.   Expend, disburse, transfer, assign, sell, convey, devise, pledge,
  19       mortgage, create a security interest in, encumber, conceal or in any manner
  20       whatsoever deal in or dispose of the whole or any part of Perfect 10’s property or
  21       any of its proceeds without prior specific Order of this Court;
  22                      d.   Withhold any of Perfect 10’s property or books or records
  23       regarding Perfect 10’s property, or funds generated from Perfect 10’s property from
  24       the receiver; and
  25                    e.     Do any act which will, or which will tend to impair, defeat,
  26       divert, prevent or prejudice the preservation of Perfect 10’s property, profits, or
  27       proceeds;
  22
           [PROPOSED) ORDER GRANTING                 -7            CASE NO. II -cv-07098-AB (SHx)
           GIGANEWS S MOTION TO LEVY
           AND TO APPOINT A RECEIVER

                                                              Exhibit   I    Page   /7
 Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 21 of 28 Page ID
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       1         24.    The parties shall serve the receiver with all papers in this action and
    2      shall give notice to the receiver about all proceedings:
    3            25.    The parties shall jointly and severally defend and indemnify and hold
    4      harmless the receiver and his employees against any claims or actions, including
    5      but not limited to any criminal proceedings, that result from his possession.
    6      operation. and attempts to sell Perfect 10’s property or interests therein as this
    7      Court’s receiver.
    8      IT IS SO ORDERED:


   10




           DATED:Febnia24,2Ol7




   11                                              The onorable André Bfrotte Jr.
                                                   United States District Judge
    —                                              Central District of California
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           [PROPOSED) ORDER GRANtING                 Q            CASE NO. I 1-cv-07098-AB (SRx)
           GIGANEWS S MOTION TO LEVY
           AND TO APPOINT A RECEWER
                                                           Exhibit       Page
Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 22 of 28 Page ID
                                 #:41461




                           Exhibit 2
Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 23 of 28 Page ID
                                 #:41462



                BILL OF SALE AND ASSIGNMENT OF RECEIVERSHIP PROPERTY

         The parties to this agreement are David J. Pasternak in his capacity as Receiver in Pe,fect
 JO, Inc. v. Gigannvs, Inc., ci at., case no. I l-cv-07098-AB (iPx), in the United States District
 Court for the Central District of California pursuant to the Order granting Judgement Creditor
 Giganews, Inc.’s motion to levy on the judgment debtors’ intellectual property and to appoint a
 receiver (the “Receiver”) and Giganews. Inc.. a Texas Corporation (“Giganews”).

        For the sum of Five Hundred Thousand Dollars ($500,000.00) consisting of(a) S25.000
in cash, (b) the value of the loans that Giganews made to the Receiver for purposes of the
Receivership in the amount of One Hundred Fifty Thousand Dollars ($150,000.00) and (c) a
credit against the judgment in Perfect JO, inc. v. Giganews in the amount of Three Hundred Fifty
Thousand Dollars ($325,000.00). the receipt of which the Receiver hereby acknowledges, the
Receiver does hereby sell, assign, transfer, grant, convey, and deliver to Giganews without any
representations or warranties all right, title, and interest in and to all the property (including but
not limited to tangible property and intellectual property and other intangible rights) that the
Receiver at any time acquired, levied upon. seized, received, took possession of, or controlled in
connection with Perfect JO, Inc. i’. Giganeii’s, Inc.. etaL. case no. I l-cv-07098-AB (JPx). in the
United States District Court for the Central District of California (the “Receivership Property”).

         The Receivership Property specifically includes the following:

             I. All domain names and contracts for domain names, including registrations in any
                jurisdiction, now or previously owned or possessed by Perfect 10, Inc., including
                those on Exhibit A to this Agreement;

             2. All copyrights and copyright interests, including registrations in any jurisdiction.
                now or previously owned or possessed by Perfect 10. including those copyrights,
                on Exhibit B to this Agreement;

             3. All trademarks, trademark interests, associated goodwill, and trademark
                registrations in any jurisdiction, now or previously owned or possessed by Perfect
                10. including those on Exhibit C to this Agreement;

             4. All publicity rights now or previously owned or possessed by Perfect 10.
                including publicity rights relating to those persons identified by their natural or
                stage/fictitious names in Exhibit D to this Agreement:

             5. All websites and associated scripts, files, and databases;

             6. All royalties, rents, issues, profits, income, damages and settlements resulting
                from or generated by the Receivership Property and any lawsuits or other legal
                actions pertaining thereto, including but not limited to the Receivership Property
                identified above, after the date of transfer of the Receivership Property hereunder;

             7. All contracts the Receiver entered into for the preservation of the Receivership
                Property;



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                                                                 Exhibit     2) Page/ 9
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                                 #:41463



              8. All suits the Receiver instituted or prosecuted concerning the Receivership
                 Property;

              9. All licenses or permits in connection with the Receivership Property:

              10. All insurance policies in connection with the Receivership Property;

              11. All registrations, books, records, books of account, ledgers, operating statements,
                  budgets, bills, contracts, choses in action, and all other business records relating to
                  the Receivership Property, wherever located, and in whatever mode maintained,
                  including information contained on computers, and any and all software or
                  databases relating thereto as well as alt banking records, statements and cancelled
                  checks of Perfect I 0;

              12. All documents that pertain to all registrations, licenses, permits, or government
                  actions or approvals relating to the Receivership Property;

              13. All other documents, records, and tangible things constituting. embodying or
                  evidencing the Receivership Property, including but not limited to items identified
                  in the Receiver’s inventory in Exhibit E to this Agreement;

              14. All records of the Receivership necessary to perfect. document, or evidence the
                  transfer of the Receivership Property to Giganews or the chain of title of the
                  Receivership Property to the Receiver;

             15. All funds and other assets in the Receivership after payment of court-approved
                 expenses of the Receiver.

      The Receiver agrees and promises to make all tangible Receivership Property available to
Giganews or its representative between 14 and 30 days after the effective date of this agreement.

       Giganews shall not, by virtue of this Bill of Sale and Assignment of Receivership
Property or otherwise, assume any obligations, liabilities or debts of Perfect 10, whether arising
out ofor related to the Receivership Property.

        The Receiver agrees and promises to execute any further documents as Giganews. its
representative, or any successor reasonably requests to effectuate, perfect or record the transfers
in any jurisdiction.

        The execution and delivery of this Bill of Sale and Assignment of Receivership Property
shall not be deemed to confer any rights upon any person or entity other than the parties hereto,
or make any person or entity a third party beneficiary of this Bill of Sale and Assignment of
Receivership, or to obligate the parties to any person or entity other than the parties hereto.

       This agreement is effective upon the issuance of an Order by the Court approving and
confirming this agreement, subject to overbidding at the hearing with a minimum overbid of
$550,000.



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                                                                 Exhibit    PageO
Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 25 of 28 Page ID
                                 #:41464




          Executed by:

          FOR THE RECEIVER:



          David J. Pasternak, Receiver



          FOR GIGANEWS, INC.

         (_cJ Vet
         tLdlK’okubaitis, General Counsel




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                                                Exhibit   2±   Pagej
              Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 26 of 28 Page ID
                                               #:41465



               1                                        PROOF OF SERVICE

               2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

               3          At the time of service, I was over 18 years of age and not a party to this action. lam
                   employed in the County of Los Angeles, State of California. My business address is 1875 Century
               4   Park East, Suite 2200, Los Angeles, CA 90067-2523.

               5           On January 31, 2019, I served true copies of the following document(s) described as

               6    (1) [PROPOSED] ORDER APPROVING AND CONFIRMING SALE OF
                   INTELLECTUAL PROPERTY;
               7
                    (2) [ALTERNATIVE PROPOSED]              ORDER APPROVING AND CONFIRMING SALE OF
               8   INTELLECTUAL PROPERTY

               9   (3)NOTICE OF HEARING OF MOTION AND RECEIVER’S MOTION FOR ISSUANCE
                   OF ORDER APPROVING AND CONFIRMING SALE OF INTELLECTUAL PROPERTY;
              10   DECLARATION OF DAVID J. PASTERNAK; MORANDUM OF POINTS AND
                   AUTHORITIES on the interested parties in this action as follows:
              11                                 See Attached Service List

              12 3 BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
                 persons at the addresses listed in the service list. The envelope or package was mailed with
              13 postage thereon fully prepaid. I am “readily familiar” this firm’s practice of collection and
                 processing correspondence for mailing. It is deposited with the U.S. Postal Service on the same
              14 day in the ordinary course of business. I am aware that on motion of the party served, service is
                 presumed invalid if postal cancellation date or postage meter date is more than I day after date of
              15 deposit for mailing in affidavit.

              16      BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the document(s) to be sent
                   from e-mail address @paslaw.com to the persons at the e-mail addresses listed in the Service List.
              17   I did not receive, within a reasonable time after the transmission, any electronic message or other
                   indication that the transmission was unsuccessful.
              18
                 3 BY CMIECF NOTICE OF ELECTRONIC FLLLNG: I electronically filed the document(s)
              19 with the Clerk of the Court by using the CM/ECF system. Participants in the case who are
                 registered CM!ECF users will be served by the CM/ECF system. Participants in the ease who are
              20 not registered CM/ECF users will be served by mail or by other means permitted by the court
                 ml es.
              21
                         I declare under penalty of perjury under the laws of the State of California that the
              22 foregoing is true and correct.

              23           Executed on January 31, 2019, at Los Angeles, California.

              24

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                                                                    C.

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& PASTERNAK


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               1              United States District Court for the Central District Of California
                                              (Western Division Los Angeles)
                                                                    -

               2
                                    Civil Docket For Case No.: 2:11-cv-07098-AB-(JPRx)
               3

                                                            Service List

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& PASTERNAK


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              Case 2:11-cv-07098-AB-JPR Document 860 Filed 01/31/19 Page 28 of 28 Page ID
                                               #:41467



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